Form 726[Deficiency Notice]

                                UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF UTAH


        In re:                                                                     Case No. 25−21693 JTM
                 Paul Gilbert Serrano and Amanda Kristin                           Chapter 7
                 Serrano
                               Debtor(s).




                                             DEFICIENCY NOTICE
        The Chapter 7 Petition filed with the Court on March 31, 2025 was incomplete and/or not
        accompanied by all lists, schedules, statements or other documents required by the United States
        Bankruptcy Code. Rules 1007 and 2016 of the Federal Rules of Bankruptcy Procedure and Local
        Bankruptcy Rule 1007−1 set forth specific papers that are required to be filed with the Court.
        By April 14, 2025, you must file the missing and/or deficient papers listed below with the Clerk of
        Court, United States Bankruptcy Court, 350 South Main Street, Room 301, Salt Lake City, Utah
        84101.
                  − Attorney Compensation Disclosure Statement
                  − Signatures Missing on Declaration/Schedules
                  − Chapter 7 Statement of Monthly Income
                  − Statement of Financial Affairs and All Schedules
                  − Summary of Assets and Liabilities
        Official Bankruptcy Forms are available at https://www.uscourts.gov/forms/bankruptcy−forms. The
        100 series of forms are for individuals and the 200 series of forms are for non−individuals.

        You may file a motion and a proposed order to extend the time for filing missing and/or deficient
        papers.

        If you fail to file all of the missing and/or deficient papers specified above or fail to request an
        extension by April 14, 2025, the United States Trustee or a party in interest may file a motion and
        schedule a hearing to seek dismissal of your case.

                        IMPORTANT − YOUR RIGHTS MAY BE AFFECTED:
          If you fail to request an extension or fail to file all of the missing and/or deficient papers specified
          above by May 15, 2025, your case may be automatically dismissed without further notice or
          hearing. See 11 U.S.C. § 521(i)

        Dated: April 1, 2025

                                                              David A. Sime
                                                              Clerk of Court
